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                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA, et al.,

                   Plaintiffs,

     v.                                 Case No.: 0:23-cv-03009-JRT-JFD

AGRI STATS, INC.

                   Defendant.


     MEMORANDUM OF LAW IN SUPPORT OF AGRI STATS, INC.’S
              MOTION TO STAY DISCOVERY
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                                        INTRODUCTION

       Absent a stay, Agri Stats, Inc. (“Agri Stats”), a small benchmarking company based

in Fort Wayne, Indiana, will be subject to burdensome discovery on three antitrust claims,

two over which this Court lacks subject matter jurisdiction and a third that is identical to a

claim that Agri Stats already litigated for over seven years—and defeated. Plaintiffs

already have more than 30 million documents, over 600 deposition transcripts, and

terabytes of structured data all relating to the claims purportedly asserted in the Second

Amended Complaint (the “Complaint”) from three private class actions. In re Broiler

Chicken Antitrust Litig., 1:16-cv-8637 (N.D. Ill.) (“Broilers”); In re Pork Antitrust Litig.,

1:18-cv-1776 (D. Minn.) (“Pork”); In re Turkey Antitrust Litig., 1:19-cv-8318 (N.D. Ill.)

(“Turkey”). They do not lack for discovery materials, and much of what they seek is

information that they already have.

       Agri Stats has moved to dismiss the Complaint (“Motion to Dismiss”) under Federal

Rules of Civil Procedure 12(b)(1) and 12(b)(6). See ECF No. 77. That motion is not a

run-of the-mill request to dismiss. It raises fundamental questions going to the power of

this Court to adjudicate Plaintiffs’ putative pork and turkey claims. Discovery should not

proceed at all on those claims until this Court has resolved those issues. The remaining

claim related to broiler chicken has already been decided in Agri Stats’ favor by another

Article III judge. Agri Stats therefore respectfully requests an order staying discovery

during the pendency of Agri Stats’ Motion to Dismiss.

       A stay will not prejudice Plaintiffs. It is likely to be brief, as Agri Stats’ Motion to

Dismiss is fully briefed and set to be argued on April 5, 2024. If the Motion to Dismiss is

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granted, discovery will be unnecessary. Even a grant in part will eliminate the need for

substantial discovery. Setting aside the propriety of any discovery when a subject matter

jurisdiction challenge is pending, Plaintiffs cannot credibly argue that any discovery is

necessary before a ruling is issued. Plaintiffs waited over thirteen years after the United

States first investigated Agri Stats to bring this lawsuit and already have access to a massive

discovery record from their pre-suit investigation, which includes the materials from the

Broilers, Pork, and Turkey class action and the additional documents and data Agri Stats

produced in response to the Civil Investigative Demands (“CIDs”) that the United States

issued throughout the last year.

       Agri Stats is not requesting that all activity in this matter halt. Rather, it seeks the

same relief here that Magistrate Judge Bowbeer granted at the outset of Pork. See In re

Pork Antitrust Litig., No. 18-cv-1776 (JRT/HB), 2019 WL 480518, at *4 (D. Minn. Feb.

7, 2019). Her order stayed the most disruptive and costly aspects of discovery pending the

disposition of defendants’ motions to dismiss, but the parties continued threshold tasks,

such as serving Rule 26(a) disclosures and negotiating a proposed confidentiality order and

electronically stored information (“ESI”) protocol.        Id.   That approach strikes the

appropriate balance and shields Agri Stats—and this Court—from unnecessary burdens

while the Court addresses the weighty issues Agri Stats’ Motion to Dismiss presents. Agri

Stats respectfully requests this Court order such a limited stay.

                                     BACKGROUND

       Since this action commenced, Plaintiffs have sought to supplement the massive

discovery record—which consists of more than 30 million documents, 600 deposition

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transcripts, and terabytes of data—accumulated during their pre-suit investigation. Agri

Stats has repeatedly advised Plaintiffs that discovery in this action would be premature

before the Court ruled on its Motion to Dismiss. Yet, on February 5, 2024, Plaintiffs

formally requested a Rule 26(f) conference be scheduled for February 20, 2024. See Ex.

1, Letter from M. Sosnowsky to J. Bernick, dated February 5, 2024. Local Rule 26.1

required Agri Stats to attend. See Local Rule 26.1 (mandating a party’s attendance at a

Rule 26(f) conference when “the request is made in writing at least 14 days before the

requested date for the conference”). At that conference, Plaintiffs unilaterally declared that

discovery had now begun, and three days later—before this Court issued a scheduling order

providing for discovery—served Rule 34 requests for production on Agri Stats. See Ex. 2,

Pls.’ First Set of Requests for Produc. to Agri Stats, dated February 23, 2024. Like the

Court, Agri Stats too was “surprised” that Plaintiffs served discovery requests under these

circumstances. See ECF No. 98. Agri Stats was left with no option but to, pursuant to

Local Rule 7.1(b), inform the Court that it intended to request a stay of discovery and

request that the Court set a hearing on the instant motion. See Ex. 3, Correspondence with

Chambers, dated March 5, 2024. The Court set a hearing on this motion for April 3, 2024—

two days before Judge Tunheim is set to hear argument on Agri Stats’ Motion to Dismiss

and Agri Stats’ motion to transfer venue (ECF No. 42). See ECF No. 98

                                       ARGUMENT

       This Court has “broad discretion” to stay discovery. See Clinton v. Jones, 520 U.S.

681, 706 (1997); see also Frable v. Synchrony Bank, 215 F. Supp. 3d 818, 821 (D. Minn.

2016). Discovery stays are appropriate when (1) a pending motion would resolve all or

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substantially all of the case “appears to have substantial grounds”; (2) the moving party

would suffer hardship or inequity if the matter is not stayed; (3) the non-moving party

would suffer little prejudice as a result of the stay; and (4) the stay would conserve of

judicial resources. See Kellogg v. Watts Guerra, LLP, No. 18-1082 (DWF/BRT), 2018

WL 3432048, at *1 (D. Minn. July 16, 2018); In re CenturyLink Sales Practices & Sec.

Litig., No. 17-2795 (MJD/KMM), 2018 WL 2122869, at *1 (D. Minn. May 8, 2018);

Dufrene v. ConAgra Foods, Inc., No. 15-cv-3796 (WMW/LIB), 2016 WL 10651947, at *2

(D. Minn. Apr. 7, 2016). Each factor weighs in favor of a limited discovery stay.

       I.     AGRI STATS’ MOTION TO DISMISS HAS SUBSTANTIAL
              GROUNDS

       Courts routinely stay discovery during the pendency of a motion to dismiss that, as

here, “would dispose of all or substantially all of the case” and “appears to have substantial

grounds.” In re CenturyLink, 2018 WL 2122869, at *1; see also Danger v. Nextep

Funding, LLC, No. 18-cv-567 (SRN/LIB), 2019 WL 4917181, at *3 (D. Minn. Jan. 22,

2019) (to demonstrate substantial grounds, a movant “must show more than a mere

possibility that the motion will result in a decision in its favor,” but need not show “a greater

than fifty percent probability”). Pleading is not a technicality. “A plaintiff must adequately

plead a claim before obtaining discovery, not the other way around.” In re Medtronic, Inc.

Sprint Fidelis Leads Prods. Liab. Litig., No. 08-1905 (RHK/JSM), 2009 WL 294353, at

*2 (D. Minn. Feb. 5, 2009), aff’d, 623 F.3d 1200 (8th Cir. 2010) (emphasis added). That

maxim carries particular force when subject matter jurisdiction is in question.




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       The Complaint has three counts—one for each of Agri Stats’ respective broiler

chicken, pork, and turkey benchmarking services. A “peek” at the merits of Agri Stats’

motion reveals flaws that doom Plaintiffs’ Complaint. See Danger, 2019 WL 4917181, at

*3.

       First, the putative pork and turkey counts assert no case or controversy under Article

III of the Constitution and must be dismissed for lack of subject matter jurisdiction. See

ECF No. 79 at 8-13; see also Steger v. Franco, Inc., 228 F.3d 889, 892 (8th Cir. 2000)

(“Federal jurisdiction is limited by Article III, § 2, of the U.S. Constitution to actual cases

and controversies.”). Agri Stats has not produced a pork or turkey report for nearly five

years and cannot unilaterally restart them because it lacks the necessary data and customers

to do so. See Clapper v. Amnesty Int’l USA, 568 U.S. 398, 414 n.5 (2013) (A party may

not rely on “speculation about the unfettered choices made by independent actors not

before the court” to establish a judiciable controversy.) (quotations omitted). Plaintiffs

have not alleged and cannot show that Agri Stats can imminently revive its long-defunct

pork and turkey reports. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 564 (1992); see also

New York v. Facebook, Inc., 549 F. Supp. 3d 6, 46 (D.D.C. 2021), aff’d sub nom. New York

v. Meta Platforms, Inc., 66 F.4th 288 (D.C. Cir. 2023) (requiring plaintiffs to “plead[] risk

that such [anticompetitive] scheme will imminently recur”). Nor can they plausibly allege

that the hypothetical pork and turkey reports will harm future competition. The Complaint

does not allege what hypothetical future pork and turkey reports would look like, what data

elements they would contain, how hypothetical future customers might use them, the

market conditions under which they will be used, or how that use might impact

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competition. See Clapper, 568 U.S. at 409 (reaffirming that the alleged “‘threatened injury

must be certainly impending to constitute injury in fact,’ and that ‘[a]llegations of possible

future injury’ are not sufficient”). Article III demands more. The Court lacks subject

matter jurisdiction over Plaintiffs’ pork and turkey claims.

       Second, and for the similar reasons, even assuming a case or controversy exists,

Plaintiffs failed to allege facts warranting prospective relief under section 4 of the Sherman

Act, 15 U.S.C. § 4, or section 16 of the Clayton Act, 15 U.S.C. § 26. See ECF No. 79 at

13-15. Both statutes require Plaintiffs to demonstrate a “significant threat of injury from

an impending violation of the antitrust laws” to obtain injunctive relief. Zenith Radio Corp.

v. Hazeltine Rsch., Inc., 395 U.S. 100, 130 (1969) (emphasis added); see also FTC v.

Qualcomm Inc., 969 F.3d 974, 1005 (9th Cir. 2020) (dismissing injunctive claim related to

conduct that was terminated “two years before the FTC filed its action”); Facebook, 549

F. Supp. 3d at 30 (D.D.C. 2021) (dismissing injunctive claim because conduct ceased two

years before lawsuit). Here, there are no pork or turkey reports for the Court to enjoin, and

there have not been any for almost five years.

       Third, the Plaintiff States are treated as private parties when seeking to enforce

federal antitrust law, see Facebook, 549 F. Supp. 3d at 38, and must plead an antitrust

injury to their respective interests to obtain injunctive relief. See Fair Isaac Corp. v.

Experian Info. Sols. Inc., 645 F. Supp. 2d 734, 754 (D. Minn. 2009). They failed to do so.

See ECF No. 79 at 15-16.

       Fourth, Plaintiffs’ only live claim, which relates to Agri Stats’ broiler chicken

reports, is identical to the information exchange claim on which the Northern District of

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Illinois granted summary judgment to Agri Stats on in Broilers. See In re Broiler Chicken

Antitrust Litig., No. 1:16-cv-8637, 2023 WL 7220170 (N.D. Ill. June 30, 2023, amended

Nov. 2, 2023) (Durkin, J.). Before Plaintiffs subject the Court and Agri Stats to a replay

of the seven years of litigation that led to Judge Durkin’s decision in Broilers, the doctrine

of stare decisis requires Plaintiffs to allege how the instant claim differs from the one Judge

Durkin rejected. See Premier Elec. Constr. Co. v. Nat’l Elec. Contractors Ass’n, 814 F.2d

358, 367-68 (7th Cir. 1987) (Easterbrook, J.). Because Plaintiffs have not done so (and

cannot do so), their chicken claim should likewise be dismissed. See ECF No. 79 at 16-

28.

       Accordingly, Agri Stats’ Motion to Dismiss includes substantial grounds to dismiss

Plaintiffs’ Complaint with prejudice.

       II.    AGRI STATS WILL BEAR SIGNIFICANT COSTS AND BURDENS
              OF ANTITRUST DISCOVERY ABSENT A STAY

       A discovery stay is particularly warranted here. The Court’s ruling on Agri Stats’

Motion to Dismiss may significantly “narrow the issues in this case and obviate the need

for some discovery,” if not dispense with the case entirely. See Riehm v. Engelking, No.

06-293 (JRT/RLE), 2006 WL 2085404, at *1-2 (D. Minn. July 25, 2006) (Tunheim, J.)

(affirming order staying discovery); see also Oticon A/S v. GN Resound A/S, No. 15-cv-

2066 (PJS/HB), 2015 WL 5752429, at *5 (D. Minn. Aug. 5, 2015) (noting that stays are

“particularly appropriate where discovery has not started, as a stay would likely conserve

discovery resources because it would potentially enable the parties to focus their discovery




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efforts on a narrower set of issues”) (quotations omitted) (quoting VData, LLC v. Aetna,

Inc., No. 06-1701 JNE/SRN, 2006 WL 3392889, at *8 (D. Minn. Nov. 21, 2006)).

       By way of example, Agri Stats believes that the Court must dismiss Plaintiffs’

claims related to the pork and turkey benchmarking reports—which Agri Stats has not

generated for nearly five years—for want of subject matter jurisdiction. The power of

merits discovery, like the power to declare the law generally, exists only when a court has

subject matter jurisdiction. Absent a stay of discovery, Agri Stats would be forced to bear

substantial and unnecessary discovery burdens related to claims for which there is no case

or controversy. See Initial Scheduling Order and Order for Partial Stay Pending Ruling on

Mot. to Dismiss at 1-3, No. 21-CV-2554 (PJS/HB) (D. Minn. Apr. 15, 2022), ECF No. 53

(staying discovery in light of the “significant” issues raised in defendants’ motion to

dismiss regarding the Court’s subject matter jurisdiction) (Bowbeer, M.J.) (copy attached

as Ex. 4); Wells Fargo Ins. Servs. USA, Inc. v. Kyle King & Sherman Ins. Agency, Inc., No.

15-cv-4378 (PJS/HB), 2016 WL 6892108, at *4 (D. Minn. July 29, 2016) (granting

discovery stay during pendency of motion challenging subject matter jurisdiction);

Camacho v. United States, No. 12cv956 CAB (BGS), 2014 WL 12026059, at *5 (S.D. Cal.

Aug. 15, 2014) (finding good cause to stay discovery until defendants’ motion to dismiss

for lack of subject matter jurisdiction was decided); AMC Fabrication, Inc. v. KRD

Trucking W., Inc., No. 2:12-cv-00146-LDG-CWH, 2012 WL 4846152, at *2 (D. Nev. Oct.

10, 2012) (“[A] pending motion challenging jurisdiction strongly favors a stay, or at

minimum, limitations on discovery until the question of jurisdiction is resolved”).



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       Moreover, discovery in antitrust cases is notoriously costly and burdensome. See

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 558 (2007) (discussing the unusually high cost

and extensive scope of discovery in antitrust cases). The discovery record in Broilers alone

totaled 150 million pages of documents, over 450 depositions, and thousands of pages of

expert reports. See ECF No. 44 at 3. Agri Stats, a small business with approximately 70

employees, should not be subjected to another round of onerous antitrust discovery

regarding the exact same information exchange claim that Judge Durkin rejected in

Broilers before the Court permits that claim to proceed. See Twombly, 550 U.S. at 563 n.8

(“[B]efore proceeding to discovery, a complaint must allege facts suggestive of illegal

conduct.”) (emphasis added). So this is not the typical matter. Here, Plaintiffs’ broilers

claim has already been adjudicated and found wanting.

       The Court should, as Magistrate Judge Bowbeer ordered in Pork, issue a stay that

defers the time-consuming, disruptive, and costly undertakings inherent to antitrust

discovery (including identifying, collecting, reviewing, and producing documents and

data) during the pendency of Agri Stats’ Motion to Dismiss. See In re Pork Antitrust Litig.,

2019 WL 480518, at *4; see also In re Wholesale Grocery Prod. Antitrust Litig., No. 09-

MD-2090 (ADM/AJB), 2010 WL 11469883, at *3 (D. Minn. Mar. 3, 2010) (“[T]his Court

declines to open the flood gates of discovery prior to Plaintiffs satisfying their initial burden

of pleading a cause of action upon which relief can be granted.”); In re Graphics

Processing Units Antitrust Litig., No. C 06-07417 WHA, 2007 WL 2127577, at *4-6 (N.D.

Cal. July 24, 2007) (staying discovery and stating that “to allow antitrust discovery prior

to sustaining a complaint would defeat one of the rationales of Twombly” given the burdens

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peculiar to antitrust discovery). That measured approach strikes the appropriate balance in

light of Agri Stats’ agreement with Plaintiffs to serve Rule 26(a) disclosures, negotiate a

proposed confidentiality order, and negotiate a proposed ESI protocol—all of which will

provide the foundation for the parties to proceed with discovery expeditiously should

Plaintiffs’ claims survive dismissal. Indeed, Magistrate Judge Bowbeer concluded, after

full briefing by the parties, hearing argument by counsel, and two subsequent status

conferences on this issue, that the same discovery stay requested here “deferre[ed] a

significant burden of discovery that might ultimately prove unnecessary,” while also

“moderating unfairness or prejudice [to Plaintiffs].” See In re Pork Antitrust Litig., 2019

WL 480518, at *4.

       III.   A STAY WILL NOT PREJUDICE PLAINTIFFS WHO ALREADY
              HAVE A MASSIVE DISCOVERY RECORD AT THEIR DISPOSAL

       The stay Agri Stats requests will not prejudice Plaintiffs. They waited over thirteen

years after the United States opened its initial investigation into Agri Stats to bring this

lawsuit. Agri Stats’ Motion to Dismiss is fully briefed and scheduled to be argued in just

over two weeks, and Plaintiffs already have access to a massive discovery record as a result

of the United States’ pre-suit investigation. Agri Stats produced millions of rows of data

and over one million documents across nearly 10 years to Plaintiffs in response to the CIDs

issued by the United States. Further, Plaintiffs requested and received the full discovery

records from Broilers, Pork, and Turkey—which encompasses more than 30 million

documents, terabytes of data, and over 600 fact witness deposition transcripts. The

discovery Plaintiffs have propounded in this case largely duplicates what Agri Stats has


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already produced in during the pre-suit investigation or in Broilers, Pork, and Turkey. See

Ex. 2, Pls.’ First Set of Requests for Produc. to Agri Stats, dated February 23, 2024. Again,

this case differs from the ordinary fare; Plaintiffs have a massive record preparation for

further proceedings should the Complaint survive. See Oticon A/S, 2015 WL 5752429, at

*2 (“[N]ot all delay is necessarily unduly prejudicial and here any cost of the delay is likely

offset by the gains to be achieved.”).

       As discussed above, Agri Stats has agreed to complete threshold discovery tasks

while its Motion to Dismiss is pending. By serving Rule 26(a) disclosures and negotiating

a proposed protective order and ESI protocol, the Parties will be ready to proceed should

any of Plaintiffs’ claims survive dismissal.

       IV.    A DISCOVERY STAY WOULD FURTHER THE JUDICIAL
              ECONOMY

       A limited discovery stay also shields the Court from unnecessary expense of judicial

resources. See Dufrene, 2016 WL 10651947, at *4 (concluding the balance of the equities

and “in particular the conservation of resources” weighed in favor of a limited stay pending

the resolution of the motion to dismiss). When a motion to dismiss “has the potential to

resolve all of the issues to which the currently pending discovery is relevant, this factor

weighs in favor of granting the requested stay.” Id. A grant of Agri Stats’ motion would

eliminate any need for discovery, see Ex. 2, Pls.’ First Set of Requests for Produc. to Agri

Stats, dated February 23, 2024, and spare the Court any obligation to manage the case. See

Danger, 2019 WL 4917181, at *4; cf. Kellogg, 2018 WL 3432048, at *2 (granting motion

to stay pending transfer decision).


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       Moreover, absent a stay, the Court would necessarily need to resolve the pending

subject matter jurisdiction questions before addressing the merits of any future discovery

disputes on the putative pork and turkey counts. See Danger, 2019 WL 4917181, at *5;

see also Gonzalez v. Thaler, 565 U.S. 134, 141 (2012) (“When a requirement goes to

subject-matter jurisdiction, courts are obligated to consider sua sponte issues that the

parties have disclaimed or have not presented.”); Berger Levee Dist. v. United States, 128

F.3d 679, 680 (8th Cir. 1997) (“the court must dismiss the action” if at any time it

determines it lacks subject matter jurisdiction). This issue is currently pending before

Judge Tunheim, which in itself “weighs heavily in favor of granting the requested stay,”

“because permitting discovery to proceed . . . could lead to the duplicative waste of judicial

resources.” See Danger, 2019 WL 4917181, at *5.

       Finally, Agri Stats has a pending motion to transfer this matter to the Northern

District of Illinois, or in the alternative, to the Northern District of Indiana, which Judge

Tunheim will also hear on April 5, 2024. Should that motion be granted, another judge

will oversee the case. That court will be the proper forum to manage the case and address

any discovery issues. The pendency of that motion, therefore, also counsels a stay.

                                      CONCLUSION

       For the foregoing reasons, Agri Stats respectfully requests that the Court issue a

limited stay of discovery while its Motion to Dismiss is pending.




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Dated: March 20, 2024                    Respectfully submitted,

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